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                                                                        Secretary

                                                                        U.S. Department of Homeland Security
                                                                        Washington, DC 20528




                                         July 28, 2020

   MEMORANDUM FOR:               Mark Morgan
                                 Senior Official Performing the Duties of Commissioner
                                 U.S. Customs and Border Protection
                                 Matthew Albence
                                 Senior Official Performing the Duties of Director
                                 U.S. Immigration and Customs Enforcement
                                 Joseph Edlow
                                 Deputy Director of Policy
                                 U.S. Citizenship and Immigration Services
   FROM:                         Chad F. Wolf
                                 Acting Secretary
   SUBJECT:                      Reconsideration of the June 15, 2012 Memorandum
                                 Entitled “Exercising Prosecutorial Discretion with Respect to
                                 Individuals Who Came to the United States as Children”

   On June 15, 2012, Secretary of Homeland Security Janet Napolitano established the policy
   known as Deferred Action for Childhood Arrivals (DACA) through a memorandum entitled
   “Exercising Prosecutorial Discretion with Respect to Individuals Who Came to the United States
   as Children.” Ever since, the policy has been subject to substantial controversy. In recent years,
   Acting Secretary of Homeland Security Elaine Duke and Secretary of Homeland Security
   Kirstjen Nielsen concluded that the DACA policy should be fully rescinded and issued additional
   memoranda in 2017 and 2018, respectively, to effect that decision.

   On June 18, 2020, the U.S. Supreme Court issued a decision that did not question the authority
   of the Department of Homeland Security (DHS) to rescind the DACA policy, but determined
   that the 2017 and 2018 memoranda had not complied with certain requirements for doing so.
   See Department of Homeland Security v. Regents of the University of California, Nos. 18-587,
   18-588, 18-589. Accordingly, the Court concluded that the rescission must be vacated and
   remanded to DHS so that it “may consider the problem anew.” Regents, Slip op. at 29.

   By this memorandum, I am rescinding the 2017 and 2018 memoranda, and making certain
   immediate changes to the DACA policy to facilitate my thorough consideration of how to
   address DACA in light of the Supreme Court’s decision. For the reasons outlined below,
   pending my full reconsideration of the DACA policy, I direct DHS personnel to take all
   appropriate actions to reject all pending and future initial requests for DACA, to reject all
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   pending and future applications for advance parole absent exceptional circumstances, and to
   shorten DACA renewals consistent with the parameters established in this memorandum.

   Background

   On June 15, 2012, Secretary Napolitano issued the memorandum (Napolitano Memorandum)
   establishing the DACA policy. The policy provided for the granting of deferred action to certain
   individuals with no lawful immigration status “who were brought to this country as children” and
   who satisfied a list of additional specified criteria. The memorandum described this deferred
   action as an exercise of “prosecutorial discretion” to forbear from removing an alien who would
   otherwise be subject to removal. Under pre-existing regulations, a grant of deferred action made
   aliens eligible for certain other attendant benefits, such as work authorization. The memorandum
   directed U.S. Immigration and Customs Enforcement (ICE) and U.S. Citizenship and
   Immigration Services (USCIS) to establish procedures for granting deferred action and work
   authorization to eligible aliens for a two-year period, subject to renewal, and for notifying those
   aliens of DHS’s decision to do so. The memorandum stated, however, that it “confer[red] no
   substantive right, immigration status or pathway to citizenship.”

   On November 20, 2014, Secretary of Homeland Security Jeh Johnson issued a memorandum
   (Johnson Memorandum) to expand the DACA policy and establish a new, related policy known
   as Deferred Action for Parents of Americans and Lawful Permanent Residents (DAPA). With
   regard to DACA, this memorandum eliminated a criterion relating to the age of DACA
   requestors when the policy was announced, extended the deferred-action and work-authorization
   period from two to three years, and adjusted the date by which requestors must have entered the
   United States to be eligible for DACA. The DAPA policy allowed for deferred action to be
   provided to certain parents whose children are U.S. citizens or lawful permanent residents
   through a process similar to DACA.

   Shortly thereafter, the U.S. District Court for the Southern District of Texas issued a nationwide
   preliminary injunction preventing both the DAPA policy and the expansion of the DACA policy
   from taking effect. In 2015, the U.S. Court of Appeals for the Fifth Circuit affirmed, holding
   that DAPA and expanded DACA likely violated both the Administrative Procedure Act (APA)
   and the Immigration and Nationality Act (INA). In 2016, the U.S. Supreme Court affirmed the
   court of appeals’ decision by an equally divided vote. On June 15, 2017, Secretary of Homeland
   Security John Kelly issued a memorandum rescinding the Johnson Memorandum.

   Also in June 2017, several of the state plaintiffs from the Texas lawsuit announced their intent to
   amend their complaint in the then still-pending litigation to challenge the original DACA policy
   as well. The States argued that the DACA policy was unlawful for the same reasons as the
   DAPA policy and the expansion of the DACA policy. On September 4, 2017, then-Attorney
   General Jefferson B. Sessions III issued a letter to Acting Secretary Duke (Sessions Letter),
   concluding that the DACA policy was indeed unlawful and likely would also be enjoined.

   On September 5, 2017, Acting Secretary Duke issued her memorandum (Duke Memorandum)
   rescinding the Napolitano Memorandum and initiating an orderly wind-down of the DACA
   policy. The Duke Memorandum explained that, “[t]aking into consideration the Supreme
   Court’s and the Fifth Circuit’s rulings” in the litigation concerning the Johnson Memorandum,
   and the Sessions Letter, it was clear to the Acting Secretary that the DACA policy “should be
   terminated.”
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   Litigation challenging the Duke Memorandum promptly ensued. As relevant here, suits were
   filed in the U.S. District Courts for the Northern District of California, Eastern District of New
   York, District of Maryland, and the District of Columbia. The District of Columbia district court
   vacated the rescission entirely, but stayed its ruling for 90 days to permit DHS to reissue a
   memorandum rescinding the DACA policy and providing a fuller explanation.

   In response to that ruling, on June 22, 2018, Secretary Nielsen issued an additional memorandum
   (Nielsen Memorandum) providing further explanation for the rescission of the DACA policy.
   The Nielsen Memorandum explained that “the DACA policy properly was—and should be—
   rescinded, for several separate and independently sufficient reasons,” including that the policy is
   contrary to law; that, even if it were not unlawful, Secretary Nielsen lacked sufficient confidence
   in the policy’s legality to continue it; and that it was not sound enforcement policy in multiple
   respects. Despite the Nielsen Memorandum, the District of Columbia district court declined to
   reconsider its previous order vacating the rescission.

   On June 18, 2020, having granted review in the California, New York, and D.C. cases, the U.S.
   Supreme Court held that the rescission of the DACA policy must be vacated. See Department of
   Homeland Security v. Regents of the University of California, Nos. 18-587, 18-588, 18-589.
   The Court observed that “[a]ll parties agree[d]” that “DHS may rescind DACA,” and the Court
   provided no reason to doubt that consensus. Slip op. at 9. But it held that DHS violated the
   APA in the manner in which it had rescinded the policy.

   As a threshold matter, the Court determined that, although agency non-enforcement decisions are
   generally not reviewable under the APA, the rescission of the DACA policy was reviewable
   “because DACA is not simply a non-enforcement policy.” Id. at 11. Rather, the Court stated,
   the Napolitano Memorandum “created a program for conferring affirmative immigration relief,”
   the creation and rescission of which is subject to review under the APA. Id. And it added that
   the “benefits attendant to deferred action provide further confirmation that DACA is more than
   simply a non-enforcement policy.” Id.

   On the merits, the Court found that when DHS rescinded the DACA policy, it failed to consider
   important aspects of the problem. In making that determination, the Court declined to consider
   the Nielsen Memorandum. Instead, the Court characterized that memorandum as an
   impermissible post hoc rationalization of the rescission, because in the Court’s view Secretary
   Nielsen “chose to elaborate on the reasons for the initial rescission rather than take new
   administrative action.” Id. at 14. As to the Duke Memorandum, the Court held that it was
   arbitrary and capricious because (1) the Acting Secretary did not adequately consider whether
   DHS could and should address the illegality of the DACA policy by retaining the forbearance
   aspect of the policy (i.e., deferred action), while declining to make DACA recipients eligible for
   the other associated benefits, such as work authorization, id. at 17-23; and (2) the Acting
   Secretary did not adequately consider how, if at all, to address any “legitimate reliance ” on the
   Napolitano Memorandum, id. at 23-26. The Court thus concluded that the rescission must be
   vacated and that the matter should be “remand[ed] to DHS so that it may consider the problem
   anew.” Id. at 29.

   The Court affirmed the District of Columbia district court’s final judgment, vacated the Ninth
   Circuit’s affirmance of the preliminary injunction issued by the Northern District of California,
   and vacated the preliminary injunction issued by the Eastern District of New York. Id.
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   On June 30, 2020, Attorney General William Barr withdrew the Sessions Letter and directed the
   Department of Justice’s Office of Legal Counsel to withdraw all guidance it had provided to
   DHS on the legality of DACA and related deferred-action policies, including an Office of Legal
   Counsel opinion that briefly addressed the legality of DACA in connection with related deferred-
   action policies. Attorney General Barr explained that he did not “wish to maintain a
   determination as the Attorney General about the legality of DACA that might constrain the
   discretion [I] otherwise possess as Acting Secretary of Homeland Security to consider whether
   and how to rescind DACA.”

   Rescission of the Nielsen and Duke Memoranda, and Reconsideration of the Napolitano
   Memoranda

   In light of the Supreme Court’s decision to vacate the Duke Memorandum and remand to the
   Department of Homeland Security, and in my capacity as the Acting Secretary of Homeland
   Security, I am considering anew the DACA policy. To date, I have considered the Napolitano
   Memorandum itself, the Duke Memorandum and Acting Secretary Duke’s accompanying
   statement, the Nielsen Memorandum, the administrative record produced in litigation
   challenging the Duke Memorandum, the briefs and joint appendix filed in the Supreme Court
   from that litigation, the joint appendix filed in the Fourth Circuit on appeal in the District of
   Maryland litigation, all of the judicial opinions issued in the litigation over the Duke
   Memorandum, including the June 18 decision of the Supreme Court, the letter from Attorney
   General Barr, and letters expressing support for the DACA policy that have been submitted to
   the President and DHS since the Supreme Court’s June 18 decision.

   As those materials demonstrate, whether to retain the DACA policy presents significant
   questions of law and legal policy. More importantly for present purposes, having considered
   those materials, I have concluded that the DACA policy, at a minimum, presents serious policy
   concerns that may warrant its full rescission. At the same time, I have concluded that fully
   rescinding the policy would be a significant administration decision that warrants additional
   careful consideration. Accordingly, in the exercise of my authority and discretion in establishing
   national immigration policies and priorities, see 8 U.S.C. § 1103(a)(1); 6 U.S.C. § 202(5), I am
   rescinding the Nielsen Memorandum and the Duke Memorandum, and making certain immediate
   changes to the DACA policy to mitigate my enforcement policy concerns while I conduct a full
   and careful consideration of a full rescission. Below, I address each of my enforcement policy
   concerns and then explain the immediate interim changes.

   Enforcement Policy Concerns: There are several reasons of enforcement policy that may
   warrant the full rescission of the DACA policy.

   First, even if the DACA policy could have been justified as a temporary measure when it was
   created, Congress arguably has had more than sufficient time to consider affording permanent
   status or immigration relief to the class of aliens covered by the policy. And yet, although
   various proposals have been advanced to do that, Congress has so far declined to take action.
   Particularly in the face of this failure to reach a legislative solution, I have serious doubts as to
   whether DHS should continue to provide either a reprieve from removal or a grant of attendant
   benefits to more than half a million aliens through a broad, class-based deferred-action policy.

   By contrast, rescinding DACA entirely may well create a more pressing need for Congress to
   decide whether it wants to address this issue and the underlying conditions that led to a
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   population of this size to remain in the United States in violation of our immigration laws for so
   long, and any other efforts to reform our immigration system in a manner that advances the
   national interest. As unilateral executive action, the DACA policy necessarily lacks the
   permanence of statutory law; it is more akin to a stopgap measure. For example, DACA
   recipients, as such, are not entitled to become lawful permanent residents and are not on a path to
   citizenship. Congress is best positioned to address that and other concerns on a more permanent
   basis through duly enacted statutes.

   Second, there has been much debate about the discretion exercised by DHS personnel in
   implementing the DACA policy. In my view, however, regardless of the amount of discretion
   that has been exercised or could be exercised under the policy, I have reservations as a matter of
   policy about setting out a list of detailed criteria, and maintaining a formal process, for non-
   enforcement. I am concerned that doing so may tilt the scales in deciding which aliens should
   receive deferred action and may inhibit individualized consideration of each case, at least for a
   non-enforcement policy of this scale.

   Third, because DHS is a law enforcement agency, I am concerned about sending mixed
   messages about DHS’s intention to consistently enforce the immigration laws as Congress has
   written them. DACA makes clear that, for certain large classes of individuals, DHS will at least
   tolerate, if not affirmatively sanction, their ongoing violation of the immigration laws. I am
   deeply troubled that the message communicated by non-enforcement policies like DACA may
   contribute to the general problem of illegal immigration in a manner that is inconsistent with
   DHS’s law enforcement mission.

   Fourth, these concerns are all the more pressing in the context of children. It is vitally important
   to convey a message that discourages individuals from undertaking what can often be a perilous
   journey to this country with no legitimate claim to enter or remain. Of course, the DACA policy
   would not apply to children who are sent or brought to this country today. But rescinding the
   DACA policy may further DHS’s efforts to discourage illegal immigration involving children
   going forward. By contrast, I am concerned that retaining the policy creates some risk of
   communicating the contrary message and encouraging such illegal conduct by suggesting a
   potential for similar future policies.

   Changes Pending Reconsideration of the DACA Policy: In accordance with the Supreme
   Court’s decision, I am determined to give careful consideration to whether the DACA policy
   should be maintained, rescinded, or modified. In the meantime, given my serious concerns about
   the policy, I have determined that some changes should immediately be made to the policy to
   limit its scope in the interim. First, while my reconsideration of the DACA policy continues, no
   new initial requests for DACA should be accepted. Second, advance parole should be granted to
   current DACA beneficiaries only in exceptional circumstances. Third, going forward, renewals
   of deferred action and the accompanying work authorization should be granted for one-year,
   rather than two-year, periods.

   These changes will mitigate my concerns without encroaching materially on the reliance interests
   that have been raised by individuals, organizations, and state and local governments during the
   course of the extensive litigation over the Duke and Nielsen Memoranda, and in recent letters to
   the President and DHS. As noted by the Supreme Court, these groups have argued that, as the
   Napolitano Memorandum itself stated, many DACA recipients were brought or sent to the
   country as children, through no fault of their own, and may have never known another home.
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   They assert that DACA recipients have structured their lives around the expectation that DHS
   would forbear from enforcing the immigration laws against them and have come to rely on the
   other associated benefits—like work authorization, Social Security, and Medicare, as well as
   advance parole—that are made available to DACA recipients. They point out that other parties,
   too, would be affected by the rescission of the DACA policy, including the family members,
   schools, employers, and employees of DACA recipients. They have offered estimates of the
   amount of economic activity DACA recipients generate and the federal, state, and local tax
   revenue that DACA recipients provide. And some have even argued that the current COVID-19
   and economic crises provide additional reasons to continue the DACA policy, in light of the
   many DACA recipients who have pursued careers in healthcare and other essential services or
   who serve in other critical roles in the workforce.

   Whatever the merits of these asserted reliance interests on the maintenance of the DACA policy,
   they are significantly lessened, if not entirely lacking, with regard to aliens who have never
   before received deferred action pursuant to the policy. And any reliance interests possessed by
   an alien or a third party within the United States on that alien’s ability to remain in the country
   does not depend on the extraordinary ability to come and go from the country as they please. In
   light of my concerns about the policy as a whole, I do not believe that, at least absent exceptional
   circumstances, DHS should continue to make the benefit of advance parole available while I
   reconsider whether the DACA policy itself should exist. Indeed, even after determining that
   DHS’s prior full rescission of the policy was likely unlawful, the district courts in the previous
   litigation did not require DHS to consider requests for DACA from aliens who had not
   previously received it or to grant any requests for advance parole. Accordingly, that has been the
   status quo for more than two years. It makes sense to continue that approach while I reconsider
   whether to rescind or revise the policy. If I ultimately determine to maintain the policy, there is
   nothing in the policy that would preclude aliens from making an initial request for DACA or
   renewing requests for advance parole at that time. And, even in the interim, nothing in this
   memorandum precludes the exercise of deferred action on a truly individualized, case-by-case
   basis when and if warranted.

   Nor are the asserted reliance interests significantly affected by shortening the renewal periods
   from two years to one year. Shortening renewal periods granted during this reconsideration
   period will have the potential benefit of significantly lessening the lasting effects of the DACA
   policy if I ultimately decide to rescind it. And the costs will be limited in the meantime, because
   the aliens who currently have DACA grants and have structured their affairs based on their
   expectation of its continuance may still seek renewal. They will merely have to seek renewal on
   an annual, rather than biannual, basis. In a similar manner, the third parties who are benefiting
   from those aliens’ continued presence today will continue to receive the same derivative benefits
   that they are receiving as long as the aliens’ renewals continue—whether on an annual or bi-
   annual basis. Put differently, even assuming that aliens with DACA have legitimate reliance
   interests in being able to renew at all, they have minimal if any reliance interests in the length of
   each renewal period, especially since a grant of DACA was and remains revocable.

   I recognize that shortening renewal periods on a prospective basis will have the effect, during
   this interim period as I consider how to address the DACA policy, of increasing the total amount
   of renewal fees that an alien will be required to pay over a multi-year period. But the fee per
   application will remain constant, and the fee that DHS charges for the application is associated
   with the processing costs to DHS. DHS personnel should consider whether it is possible to
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   reduce renewal fees during this interim period of reconsideration. In my current view, however,
   even if renewal fees cannot be reduced, shortening the renewal period is still warranted by my
   strong desire to limit the scope of the policy during this interim period despite any additional fees
   incurred by DACA beneficiaries as a result.

   Finally, to further mitigate my concerns, I have determined that these changes should apply both
   to DACA and advance parole requests submitted after the issuance of this memorandum and
   requests that are currently pending before the agency. Since the issuance of the Supreme Court’s
   decision, DHS has, on an interim basis, generally held properly submitted initial requests for
   DACA in anticipation of potential policy changes. Since July 24, DHS has likewise, on an
   interim basis, held all requests for advanced parole from current DACA recipients.1 Consistent
   with the Court’s express remand for the agency’s reconsideration and the Napolitano
   Memorandum’s clear statement that it conferred no substantive rights, DHS did not expand
   beyond the status quo of the past several years for a few weeks while it was determining next
   steps. I now conclude that all pending and future requests should be treated in the same manner,
   rather than be subject to differential treatment depending on the fortuity of when DHS received
   the request within a short period of uncertainty. Nothing in the Napolitano Memo purports to
   preclude me from exercising my enforcement discretion to make these changes on an interim
   basis while I consider whether to make more substantial changes on a permanent basis. Even
   under the Napolitano Memo, no aliens had a legal entitlement to receive DACA—much less a
   legal entitlement to a particular renewal period. Nor can aliens with pending requests assert any
   meaningfully greater reliance interests in their initial or continued enjoyment of the policy and
   the attendant benefits than aliens who submit such requests after the issuance of this
   memorandum.

   Accordingly, effective immediately, DHS shall:

       •   Reject all initial DACA requests and associated applications for Employment
           Authorization Documents, and refund all associated fees, without prejudice to re-filing
           such requests should DHS determine to begin accepting initial requests again in the
           future.

       •   Adjudicate all pending and future properly submitted DACA renewal requests and
           associated applications for Employment Authorization Documents from current
           beneficiaries.

       •   Limit the period of any deferred action granted pursuant to the DACA policy after the
           issuance of this memorandum (and thereby limit the period of any associated work
           authorization) to one year.

       •   Refrain from terminating any grants of previously issued deferred action or revoking any
           Employment Authorization Documents based solely on the directives in this
           memorandum for the remaining duration of their validity periods.


   1
             Prior to July 24, DHS’s treatment of advance parole requests from DACA recipients varied. Many were
   rejected, while some were accepted and receipted. To the extent any rejected requestor believes exceptional
   circumstances support his or her request, he or she may now renew the request for advance parole, and it will be
   adjudicated on the terms set forth in this memorandum.
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      •   Reject all pending and future Form I-131 applications for advance parole from
          beneficiaries of the DACA policy and refund all associated fees, absent exceptional
          circumstances.

      •   Refrain from terminating any grants of previously approved advance parole based solely
          on the directives in this memorandum for the remaining duration of their validity periods.

      •   Exercise its discretionary authority to terminate or deny deferred action at any time when
          immigration officials determine termination or denial of deferred action is appropriate.

      •   Continue to comply with the information-sharing policy as reflected in the DACA
          Frequently Asked Questions issued alongside the Napolitano Memorandum, and as set
          forth in USCIS’s Form I-821D instructions. Nothing in this memorandum makes any
          change to that policy.

                                              * * * * *

   This document is not intended to, does not, and may not be relied upon to create any right or
   benefit, substantive or procedural, enforceable at law or equity by any party in any
   administrative, civil, or criminal matter. Likewise, no limitations are placed by this guidance on
   the otherwise lawful enforcement or litigation prerogatives of DHS. Finally, if any aspect of the
   changes to the DACA policy in this memorandum is found to be unlawful, the remainder of the
   changes should nonetheless continue in effect.
